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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Attorney for Defendant
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LATASHA RENE WEBB
 6
 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,          )
11                                      )   NO. CR.S-08-082-EJG
                     Plaintiff,         )
12                                      )
          v.                            )
13                                      )   STIPULATION AND ORDER TO CONTINUE
                                        )   STATUS CONFERENCE AND EXCLUDE
14                                      )   TIME
     LATASHA RENEE WEBB, et al.         )
15                                      )   Date: January 30, 2009
                    Defendants.             Time: 10:00 a.m.
16   _____________________________          Judge: Hon. Edward J. Garcia

17
          IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, MICHAEL BECKWITH, Assistant United States
19
     Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant
20
     Federal Defender, attorney for defendant, LATASHA RENEE WEBB, that the
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     status conference set for December 12, 2008 be continued to January 30,
22
     2009 at 10:00 a.m.
23
          This continuance is being requested because the defense needs
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     additional time to review the discovery, investigate this case, and
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     discuss the case and the relevant law with the government and the
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     defendant.
27
          For this reason, the parties agree that the ends of justice to be
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 1   served by a continuance outweigh the best interests of the public and
 2   the defendant in a speedy trial and that time under the Speedy Trial
 3   Act may be excluded from the date of this order through January 30,
 4   2009, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv)(Local Code T4)
 5   [reasonable time to prepare].
 6
                                            Respectfully submitted,
 7                                          DANIEL J. BRODERICK
                                            Federal Defender
 8
 9
     DATED: December 9, 2008                /s/ RACHELLE BARBOUR
10                                          RACHELLE BARBOUR
                                            Attorney for Defendant
11                                          LATASHA RENEE WEBB
12
                                           McGREGOR SCOTT
13                                         United States Attorney
14
15   DATED: December 9, 2008               /s/ RACHELLE BARBOUR for
                                           MICHAEL BECKWITH
16                                         Assistant U.S. Attorney
                                           Attorney for Plaintiff
17
18                                     O R D E R
19        IT IS SO ORDERED.
20
     DATED: December 10, 2008               /s/ Edward J. Garcia
21                                          EDWARD J. GARCIA
                                            United States District Judge
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